Case 3:18-cv-04865-EMC Document 352-9 Filed 01/11/22 Page 1 of 9




  EXCERPTS FROM THE DEPOSITION OF
             ELON MUSK
      TAKEN NOVEMBER 5, 2021
       Case 3:18-cv-04865-EMC Document  352-9 Filed 01/11/22 Page 2 of 9
                                Confidential

                                                                           Page 1
·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · SAN FRANCISCO DIVISION

·4· ·IN RE TESLA, INC. SECURITIES) Case No.
· · ·LITIGATION· · · · · · · · · ) 3:18-cv-04865-EMC
·5· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
·6· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
·7· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
·8· ·____________________________)

·9· · · · · · ·_____________________________________

10· · · · · · · · · · · · ·CONFIDENTIAL

11· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF

12· · · · · · · · · · · · · ·ELON MUSK

13· · · · · · · · · · · ·NOVEMBER 5, 2021
· · · · · · · ·_____________________________________
14

15· · · · ORAL AND VIDEOTAPED DEPOSITION OF ELON MUSK,

16· ·produced as a witness at the instance of the Plaintiff,

17· ·and duly sworn, was taken in the above-styled and

18· ·numbered cause on November 5, 2021, from 10:32 a.m. to

19· ·8:04 p.m., before Candice Andino, Certified Shorthand

20· ·Reporter in and for the State of Texas, reported by

21· ·machine shorthand, at Armbrust & Brown, PLLC, 100

22· ·Congress Avenue, Suite 1300, Austin, Texas, pursuant to

23· ·Notice and in accordance with the Federal Rules of Civil

24· ·Procedure.

25· ·JOB NO. 202221


                   TSG Reporting - Worldwide· · 877-702-9580
       Case 3:18-cv-04865-EMC Document  352-9 Filed 01/11/22 Page 3 of 9
                                Confidential

                                                                           Page 2
·1· · · · · · · ·A P P E A R A N C E S

·2· ·FOR THE PLAINTIFFS:

·3· · · · LEVI & KORSINSKY
· · · · · BY:· MR. NICHOLAS PORRITT
·4· · · · · · ·MS. ELIZABETH TRIPODI
· · · · · · · ·MS. KATHY AMES VALDIVIESO
·5· · · · 1101 30th Street N.W.
· · · · · Washington, DC 20007
·6

·7

·8
· · ·FOR THE DEFENDANTS:
·9
· · · · · COOLEY
10· · · · BY:· MR. STEPHEN NEAL
· · · · · 3175 Hanover Street
11· · · · Palo Alto, California 94304

12

13· ·ALSO PRESENT:

14· · · · CASEY MUMMERT, Videographer

15· · · · CANDACE JACKMAN, Tesla in-house counsel

16· · · · JOSHUA WALDEN (appearing telephonically)

17

18

19

20

21

22

23

24

25


                   TSG Reporting - Worldwide· · 877-702-9580
       Case 3:18-cv-04865-EMC Document  352-9 Filed 01/11/22 Page 4 of 9
                                Confidential

                                                                           Page 7
·1· · · · · · ·FRIDAY, NOVEMBER 5, 2021, 10:32 A.M.
·2· · · · · · · · · · · · ·AUSTIN, TEXAS
·3· · · · · · · · ·THE VIDEOGRAPHER:· Good morning.· This is
·4· ·the start of media labeled Number 1 of the video
·5· ·recorded deposition of Mr. Elon Musk, in the matter in
·6· ·re Tesla, Inc. Securities Litigation, in the US District
·7· ·Court Northern District of California, San Francisco
·8· ·Division, No. 3:18-cv-04865-EMC.
·9· · · · · · · · ·This deposition is being held at the law
10· ·offices of Armbrust & Brown on November 5th, 2021, at
11· ·approximately 10:32 a.m.
12· · · · · · · · ·My name is Casey Mummert.· I'm the legal
13· ·video specialist from TSG Reporting, Inc. headquartered
14· ·in 228 East 45th Street, Suite 810, New York, New York
15· ·10017.
16· · · · · · · · ·The court reporter is Candice Andino in
17· ·association with TSG Reporting.
18· · · · · · · · ·Counsel, please introduce yourselves.
19· · · · · · · · ·MR. PORRITT:· Excuse me.· Nicholas Porritt
20· ·of the firm of Levi & Korsinsky on behalf of the
21· ·Plaintiff and the Class.
22· · · · · · · · ·MS. AMES VALDIVIESO:· Kathy Ames on behalf
23· ·of Plaintiff.
24· · · · · · · · ·MS. TRIPODI:· And Elizabeth Tripodi with
25· ·Levi & Korsinsky on behalf of Plaintiff.


                   TSG Reporting - Worldwide· · 877-702-9580
                                                                                    YVer1f
       Case 3:18-cv-04865-EMC Document  352-9 Filed 01/11/22 Page 5 of 9
                                Confidential

                                                                           Page 8
·1· · · · · · · · ·MR. NEAL:· And I'm Stephen Neal of Cooley
·2· ·representing Mr. Musk and the other defendants in this
·3· ·case.
·4· · · · · · · · ·MS. JACKMAN:· Candace Jackman, in-house
·5· ·counsel with Tesla.
·6· · · · · · · · ·(Witness sworn.)
·7· · · · · · · · ·THE WITNESS:· I do.
·8· · · · · · · · · · · · · ELON MUSK,
·9· ·having been first duly sworn, was examined and testified
10· ·as follows:
11· · · · · · · · · · · · · EXAMINATION
12· ·BY MR. PORRITT:
13· · · · Q.· Good morning, Mr. Musk.
14· · · · A.· Good morning.
15· · · · Q.· As you just heard, my name is Nicholas Porritt.
16· ·I'm one of the counsel for the plaintiffs in this
17· ·matter.
18· · · · A.· Okay.
19· · · · Q.· I'll be taking your deposition today.· I know
20· ·you've been deposed before, but I'll just quickly go
21· ·over a couple of ground rules just to -- just to make
22· ·sure we're all on the same page.· Excuse me.
23· · · · · · · · ·One is we are creating a written record.
24· ·You can see Candice here is writing down what I say and
25· ·will write down what you say.· So, with that in mind,


                   TSG Reporting - Worldwide· · 877-702-9580
                                                                                    YVer1f
Case 3:18-cv-04865-EMC Document 352-9 Filed 01/11/22 Page 6 of 9




            DEPOSITION TESTIMONY
                 FILED UNDER SEAL
Case 3:18-cv-04865-EMC Document 352-9 Filed 01/11/22 Page 7 of 9




                         ERRATA
                 FILED UNDER SEAL
       Case 3:18-cv-04865-EMC Document  352-9 Filed 01/11/22 Page 8 of 9
                                Confidential

                                                                           Page 299
·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · SAN FRANCISCO DIVISION

·4· ·IN RE TESLA, INC. SECURITIES) Case No.
· · ·LITIGATION· · · · · · · · · ) 3:18-cv-04865-EMC
·5· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
·6· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
·7· · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
·8· ·____________________________)

·9· · · · · · · · · ·REPORTER'S CERTIFICATION

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · · · · ELON MUSK

12· · · · · · · · · · · ·NOVEMBER 5, 2021

13

14· · · · I, CANDICE ANDINO, Certified Shorthand Reporter in

15· ·and for the State of Texas, hereby certify to the

16· ·following:

17· · · · That the witness, ELON MUSK, was duly sworn by the

18· ·officer and that the transcript of the oral deposition

19· ·is a true record of the testimony given by the witness;

20· · · · I further certify that pursuant to FRCP Rule

21· ·30(f)(1) that the signature of the deponent:

22· · · · ____ was requested by the deponent or a party

23· ·before the completion of the deposition and returned

24· ·within 30 days from date of receipt of the transcript.

25· ·If returned, the attached Changes and Signature Page


                   TSG Reporting - Worldwide· · 877-702-9580
       Case 3:18-cv-04865-EMC Document  352-9 Filed 01/11/22 Page 9 of 9
                                Confidential

                                                                           Page 300
·1· ·contains changes and the reasons therefor;

·2· · · · __X__ was not requested by the deponent or a party

·3· ·before the completion of the deposition.

·4· · · · I further certify that I am neither attorney nor

·5· ·counsel for, related to, nor employed by any of the

·6· ·parties to the action in which this testimony was taken.

·7· · · · Further, I am not a relative or employee of any

·8· ·attorney of record in this cause, nor do I have a

·9· ·financial interest in the action.

10· · · · Subscribed and sworn to on this 10th day of

11· ·November, 2021.

12

13· · · · · · · · · · _______________________________________
· · · · · · · · · · · CANDICE ANDINO, Texas CSR No. 9332, RMR
14· · · · · · · · · · Expiration Date:· 8/31/23
· · · · · · · · · · · TSG Reporting, Inc.
15· · · · · · · · · · Firm Registration No. 615
· · · · · · · · · · · 747 Third Avenue, 10th Floor
16· · · · · · · · · · New York, New York 10017
· · · · · · · · · · · (877) 702-9580
17

18

19

20

21

22

23

24

25


                   TSG Reporting - Worldwide· · 877-702-9580
